                              Case 24-11442-MFW              Doc 199       Filed 08/01/24        Page 1 of 1




                                              UNITED STATES BANKRUPTCY COURT
                                               FOR THE DISTRICT OF DELAWARE



  IN RE:                                                              §                           CASE NO. 24-11442
  CHICKEN SOUP FOR THE SOUL ENTERTAINMENT,                            §
  INC.
  DEBTOR(S),                                                          §                            CHAPTER 7

                                            REQUEST FOR SERVICE OF NOTICES AND
                                                        PLEADINGS

    PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of:

    WOOD COUNTY                                         SMITH COUNTY                                     MORRIS CAD
    CITY OF QUEEN CITY                                  QUEEN CITY ISD                                   CITY OF ATLANTA
    ATLANTA ISD                                         CITY OF AVINGER                                  AVINGER ISD
    LINDEN - KILDARE CISD                               CAMP CAD                                         UPSHUR COUNTY
    GREGG COUNTY                                        RUSK COUNTY                                      MARION COUNTY
 secured creditor(s) in the above-referenced proceedings. The undersigned hereby requests notice and copies of all motions notices,
 reports, briefs, applications, adversary proceedings, proposed orders, confirmed copies of orders, any proposed disclosure statement

 or plan of reorganization that has been filed with the court, any other documents or instruments filed in the above-referenced

 proceedings and any other matter in which notice is required pursuant to 11 U.S.C. Sec. 1109(b) and Bankruptcy Rules 2002(a) and

 (b), 3017(a), and 9013 of the Federal Rules of Bankruptcy Procedure.

    Copies should be mailed to the secured creditor(s) in care of the undersigned at the address set forth below.
                                                           Certificate of Service

I do hereby certify that on   1st day of       August ,2024, a copy of the above and foregoing has been this date served
electronically or mailed to the parties listed below:

    STEVEN WILLIAM GOLDEN                          JOSEPH J. MCMAHON, JR.
    PACHULSKI STANG ZIEHL & JONES                  ASSISTANT UNITED STATES
    LLP                                            TRUSTEE
    780 THIRD AVE; 34TH FLOOR                      844 KING STREET; SUITE 2207
    NEW YORK, NY 10017                             WILMINGTON, DE 19801

                                                           LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
                                                           2777 N. Stemmons Freeway
                                                           Suite 1000
                                                           DALLAS, TX 75207
                                                           Telephone: (214) 880-0089
                                                           Facsimile: (469) 221-5003
                                                           Email:      dallas.bankruptcy@lgbs.com


                                                           By: /s/John       K. Turner
                                                               John Kendrick Turner
                                                               SBN: 00788563 TX
